Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.317 Filed 01/04/16 Page 1 of 9




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


        UNITED STATES OF AMERICA,
                                                          Civil Case No. 15-cv-12848
                   Plaintiff,
                                                         Criminal Case No. 13-cr-20792
                      v.
                                                      UNITED STATES DISTRICT COURT JUDGE
                                                              GERSHWIN A. DRAIN
         SHANNON DONALD SEXTON,

                  Defendant.
                                            /

         ORDER DENYING MOTION TO VACATE, SET ASIDE OR CORRECT SENTENCE
          UNDER 28 U.S.C. § 2255, DENYING EVIDENTIARY HEARING AS MOOT,
                  AND DENYING A CERTIFICATE OF APPEALABILITY

                                       I. INTRODUCTION

       On June 26, 2014, defendant Shannon Donald Sexton (“Defendant”) pleaded guilty, by

way of a Rule 11 plea agreement, to bank robbery by force or violence, in violation of 18 U.S.C.

§ 2113(a). On October 23, 2014, Defendant was sentenced to 120 months imprisonment. The

judgment of sentence was entered on October 28, 2014. Defendant filed the instant Motion to

Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 on August 11, 2015. [Dkt.

No. 43] The Government filed a response to the § 2255 motion on October 30, 2015 [Dkt. No.

54], and Defendant filed a reply on December 11, 2015 [Dkt. No. 57].

       Defendant raises one claim in his motion: he contends that his sentence was

unconstitutionally increased pursuant to U.S.S.G. § 4B1.1 when his prior convictions were

considered “crimes of violence.” For the reasons discussed below, the Court DENIES

Defendant’s Motion to Vacate, Set Aside or Correct Sentence. The Court also DENIES

Defendant’s request for an evidentiary hearing as MOOT.




                                                -1-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.318 Filed 01/04/16 Page 2 of 9




                                      II. BACKGROUND

A.     Underlying Criminal Activity

       On August 30, 2013, Defendant drove co-defendant Bryan Brooks to Sterling Heights,

Michigan. Defendant gave Brooks a demand note and told him how to rob a bank. Brooks

followed Defendant’s instructions, and presented a teller in a TCF Bank branch with the demand

note, telling her to “hurry up.” (PSR ¶ 11) The teller complied and gave Brooks money from her

bank drawer. After receiving the money, Brooks identified a bait bill pack and threw it back at

the teller. Brooks left the bank with $1,332.00 and got back into the car with Defendant.

Defendant drove away, and Brooks and Defendant split the money. On September 3, 2013,

Defendant and Brooks robbed a second bank, this time a Flagstar Bank in Clinton Township,

Michigan. (PSR ¶ 12) On September 13, 2013, Defendant and Brooks robbed a third bank, a

Talmer Bank and Trust in Imlay City. (PSR ¶ 13) On September 20, 2013, Defendant and

Brooks robbed a fourth bank, a Comerica Bank in Auburn Hills. (PSR ¶ 14)

B.     Procedural History

       On April 10, 2014, Defendant was charged in a one count First Superseding Information

with aiding and abetting bank robbery, in violation of 18 U.S.C. § 2 and 2113(a). (Dkt. No. 18)

On June 26, 2014, Defendant entered a guilty plea to Count One of the First Superseding

Information. The parties’ Rule 11 Plea Agreement anticipated a sentencing guideline range of

151-188 months under the Career Offender provisions of U.S.S.G. § 4B1.1, based on a total

offense level of 29 and a criminal history category VI. (Dkt. No. 30) The Probation Department

ultimately calculated the same guideline range. (PSR ¶¶ 121-22) At the plea hearing, Defendant

admitted to the factual basis for Count One, and the Court found that Defendant was competent

and capable of entering an informed plea, and accepted Defendant’s guilty plea. (Dkt. No. 49,




                                              -2-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.319 Filed 01/04/16 Page 3 of 9




PgID 240) The Plea Agreement acknowledged that the Career Offender guidelines provisions

applied to Defendant. (Dkt. No. 30, Pg ID 132)

       Sentencing was held on October 23, 2014. Defendant made no objections to the Pre-

Sentence Investigation Report prepared by the Probation Department. (Dkt. No. 52) The Court

noted that it “should be giving you a sentence probably about 15 years, but I’m not going to do

that.” (Id. at 13) Instead, the Court sentenced Defendant to 120 months of incarceration, a

significant downward departure from the guidelines range of 151-188 months. (Id. at 13-14)

Because the sentence imposed was below what was anticipated by the parties in the Rule 11 Plea

Agreement, Defendant gave up his right to appeal his conviction and his sentence. (See Dkt. No.

30, PgID 121)

       On August 11, 2015, Defendant filed the instant motion. Defendant contends that his

sentence, which was heightened following a determination that the Career Offender provision of

the sentencing guidelines applied, violated his Fifth Amendment rights. Defendant relies on a

recent Supreme Court case, Johnson v. United States, 135 S.Ct. 2551 (2015). (Dkt. No. 43, PgID

196) Defendant also requests that the Court conduct an evidentiary hearing.

                                     III. LEGAL STANDARD
       A defendant seeking relief under § 2255 “must allege as a basis for relief: (1) an error of

constitutional magnitude; (2) a sentence imposed outside statutory limits; or (3) an error of fact

or law that was so fundamental as to render the entire proceeding invalid.” Pough v. United

States, 442 F.3d 959, 964 (6th Cir. 2006) (citing Mallett v. United States, 334 F.3d 491, 496-97

(6th Cir. 2003)). When raising claims alleging errors of constitutional magnitude, a defendant

must show that the constitutional error had a substantial and injurious effect or influence on the

proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993); Watson v. United States, 165

F.3d 486, 488 (6th Cir. 1999).


                                                 -3-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.320 Filed 01/04/16 Page 4 of 9




                                         IV. DISCUSSION

       In this case, Defendant had a guideline range of 151-188 months because the Court (as

well as the parties and the Probation Department) determined that he was subject to the Career

Offender provision of U.S.S.G. § 4B1.1(a). Defendant now argues that intervening law (i.e.,

Johnson) renders that sentence unconstitutional because the residual clause of the Career

Offender provision (pursuant to which he believes his prior felony convictions were determined

to be “crimes of violence”) is unconstitutionally vague.

A.     Section 2255 Motion

       Under U.S.S.G. § 4B1.1(a) (the Career Offender provision in the sentencing guidelines),

a defendant is subject to heightened offense levels (and, therefore, heightened guideline ranges)

if:

       (1) the defendant was at least eighteen years old at the time the defendant
       committed the instant offense of conviction;

       (2) the instant offense of conviction is a felony that is either a crime of violence or
       a controlled substance offense; and

       (3) the defendant has at least two prior felony convictions of either a crime of
       violence or a controlled substance offense.

Defendant does not challenge that he was at least eighteen years old at the time of the offense of

conviction (PSR at ¶ 89), nor does he contest that the “instant offense of conviction,” the bank

robbery, constitutes a “crime of violence.” In other words, Defendant concedes that subsections

(1) and (2) of U.S.S.G. § 4B1.1(a) are satisfied. Therefore, the issue for the Court to decide is

whether Defendant falls within subsection (3) of U.S.S.G. § 4B1.1(a), i.e., whether Defendant

has “at least two prior felony convictions of either a crime of violence or a controlled substance

offense.”




                                                -4-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.321 Filed 01/04/16 Page 5 of 9




       The term “crime of violence” set forth in subsection (3) of U.S.S.G. § 4B1.1(a) is defined

as any felony offense under federal or state law that:

       (1) has as an element the use, attempted use, or threatened use of physical force
           against the person of another, or

       (2) is burglary of a dwelling, arson, or extortion, involves use of explosives, or
       otherwise involves conduct that presents a serious potential risk of physical injury
       to another.

U.S.S.G. § 4B1.2(a). Subsection (1) of U.S.S.G. § 4B1.2(a) is known as the “elements” clause

and requires courts to consider the elements of the offense of conviction to determine whether it

qualifies as a “crime of violence.” See, e.g., Brown v. Caraway, 719 F.3d 583, 589 (7th Cir.

2013). The first part of subsection (2) of U.S.S.G. § 4B1.2(a) is called the “enumerated offenses”

clause and lists specific types of crimes that qualify as a “crime of violence” (i.e., “burglary of a

dwelling, arson, or extortion, involves the use of explosives”). Id.; United States v. Covington,

738 F.3d 759, 761, 764-67 (6th Cir. 2014). The latter part of subsection (2) of U.S.S.G. §

4B1.2(a) (i.e., the phrase “or otherwise involves conduct that presents a serious potential risk of

physical injury to another”) is referred to as the “residual clause.” Covington, 738 F.3d at 762.

       The same language that constitutes the “residual clause” of U.S.S.G. § 4B1.2(a) is

included in the definition of what constitutes a “violent felony” under the statutory penalties in

the Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B) (“ACCA”). Recently, the Supreme

Court held that the “or otherwise involves conduct that presents a serious potential risk of

physical injury to another” language in the ACCA’s definition of a “violent felony” is

unconstitutionally vague. Johnson, 135 S. Ct. at 2557-58. Defendant now contends that Johnson

renders the sentence imposed by this Court unconstitutional because his prior felony convictions

fall within the “residual clause” of the Career Offender provision.




                                                -5-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.322 Filed 01/04/16 Page 6 of 9




         For purposes of this Opinion and Order, the Court will assume, without deciding, that

Johnson would also render the residual clause of U.S.S.G. § 4B1.2(a) unconstitutionally vague.

The Court need not decide that constitutional issue, however, because as discussed below, even

if the residual clause is unconstitutionally vague, the Career Offender provision applies to

Defendant based on the nature and volume of his prior felony convictions.

         Defendant identifies three prior felony convictions he believes the Court improperly

considered when determining that Defendant was subject to the Career Offender guidelines. He

argues his Michigan convictions for felony breaking and entering and entering an occupied

dwelling (PSR at ¶¶ 55-56) and his Ohio conviction for felony breaking and entering (PSR at ¶

63) could be considered “crimes of violence” only under the residual clause. Even if the Court

concluded that those three prior felony convictions could not be considered by the Court

because they are “crimes of violence” only under the residual clause, Defendant has several

additional prior felony convictions the Court must consider, including two prior Michigan felony

convictions for bank robbery (PSR at ¶¶ 70-71).1

         Bank robbery convictions, including the bank robbery conviction in this case,2 qualify as

“crimes of violence” under the “elements” clause. See United States v. Villa-Gomez, 193 F.

App’x 586, 590 (6th Cir. 2006) (“the current offense of unarmed bank robbery is a crime of

violence” and “the term ‘crime of violence’ is defined in the Sentencing Guidelines and includes

robbery, U.S.S.G. § 4B1.1 and Application Note 1 to that section”); United States v. Maddalena,


1
 Defendant did not mention or acknowledge either of his two prior felony convictions for bank robbery in his
motion or in his reply.
2
  As discussed above, Defendant concedes that the second requirement of U.S.S.G. § 4B1.1(a) (“the instant offense
of conviction is a felony that is . . . a crime of violence . . .”) is satisfied in this case. Significantly, the instant
offense of conviction was bank robbery. In other words, Defendant concedes that bank robbery is a felony that is a
crime of violence.




                                                          -6-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.323 Filed 01/04/16 Page 7 of 9




893 F.2d 815, 819 (6th Cir. 1989) (“the commentary to section 4B1.2 of the guidelines includes

robbery as an offense covered by the [‘threatened use of physical force against the person . . . of

another’] provision”). In fact, 18 U.S.C. § 2113(a) provides:

       Whoever, by force and violence, or by intimidation, takes, or attempts to take,
       from person or presence of another . . . any property or money or any other thing
       of value. . . .

As stated by the Maddalena court, “[t]he requirement that property be taken either ‘by force and

violence’ or ‘by intimidation’ requires proof of force or threat of force as an element of the

offense.” Maddalena, 893 F.2d at 819 (emphasis added). Based on this established Sixth Circuit

law, the Court concludes that Defendant’s bank robbery convictions constitute “crimes of

violence” under the “elements” clause of U.S.S.G. § 4B1.2(a)(1).

       The Court finds that, even if all of Defendant’s other prior felony convictions could be

considered “crimes of violence” only under the residual clause of U.S.S.G. § 4B1.2(a)(2),

Defendant’s two prior bank robbery convictions support the conclusion that Defendant was

convicted of at least two prior felony convictions that constitute “crimes of violence” under the

“elements” clause of U.S.S.G. § 4B1.2(a). In other words, the Court need not, and the Court

does not, rely on the residual clause (the only clause of the Career Offender provision Johnson

arguably implicates) to conclude that the two prior Michigan felony convictions for bank robbery

are “crimes of violence.” For those reasons, the Court finds that: (1) the Johnson decision is not

relevant when determining whether Defendant is a Career Offender, and (2) Defendant’s

sentencing guidelines were appropriately calculated pursuant to the Career Offender provision.

       For the reasons stated above, the Court will deny Defendant’s Motion to Vacate, Set

Aside or Correct Sentence.      Further, as there are no evidentiary matters for the Court to

determine, the Court will deny as moot Defendant’s request for an evidentiary hearing.




                                                -7-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.324 Filed 01/04/16 Page 8 of 9




B.     Certificate of Appealability

       “The district court must issue or deny a certificate of appealability when it enters a final

order adverse to the applicant.” Rules Governing § 2254 Cases, Rule 11(a), 28 U.S.C. foll. §

2254. In order to obtain a certificate of appealability, a defendant must make a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). To demonstrate this

denial, the defendant is required to show that reasonable jurists could debate whether, or agree

that, the petition should have been resolved in a different manner, or that the issues presented

were adequate to deserve encouragement to proceed further. Slack v. McDaniel, 529 U.S. 473,

483-84 (2000). When a district court rejects a defendant’s constitutional claims on the merits,

the petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims to be debatable or wrong. Id. at 484.

       In his 28 U.S.C. § 2255 Motion, Defendant argued that his sentence, which was based on

the Career Offender provision of the U.S. Sentencing Guidelines, should be found

unconstitutional based on the recent Supreme Court decision in Johnson because some of his

prior felony convictions constitute crimes of violence under the residual clause of the Career

Offender provision of the sentencing guidelines. For the reasons stated above, however, the

Court concludes that Johnson does not apply to Defendant’s case because he has (at least) two

prior felony convictions that constitute crimes of violence pursuant to the elements clause of the

Career Offender provision of the sentencing guidelines.         The Court further concludes that

Defendant has not shown (and cannot show) that “reasonable jurists could debate whether, or

agree that, the petition should have been resolved in a different manner, or that the issues

presented were adequate to deserve encouragement to proceed further.” Slack, 529 U.S. at 483-

84. Accordingly, the Court will not issue Defendant a certificate of appealability.




                                                -8-
Case 2:13-cr-20792-GAD-DRG ECF No. 58, PageID.325 Filed 01/04/16 Page 9 of 9




                                       V. CONCLUSION

       Accordingly, for the reasons discussed above, the Court ORDERS that Defendant’s

Motion to Vacate, Set Aside or Correct Sentence [#43] is DENIED and Defendant’s request for

an evidentiary hearing is DENIED as MOOT.

       IT IS FURTHER ORDERED that Defendant’s Motion to Vacate, Set Aside or Correct

Sentence under 28 U.S.C. § 2255 is DISMISSED WITH PREJUDICE and a certificate of

appealability shall not issue and is DENIED.


       IT IS SO ORDERED.

Dated: January 4, 2016
                                                       /s/Gershwin A Drain
                                                       HON. GERSHWIN A. DRAIN
                                                       United States District Court Judge




                                               -9-
